        Case 2:21-mj-04867-DUTY Document 12 Filed 10/22/21 Page 1 of 1 Page ID #:51




                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
    UNITED STATES OF AMERICA,                                        CASE NUMBER

                                                       PLAINTIFF,                      2:21-MJ-04867-DUTY
                                   v.
   Nicholas A. Houston
                                                                              ORDER FOR CONTRIBUTION
                                                                              TOWARDS ATTORNEY'S FEES
                                                                                  18 U.S.C.§ 3006A(~
                                                  DEFENDANT(S).

     On            October 22, 2021           defendant                           Nicholas A. Houston
     ~ submitted a financial affidavit in support of defendant's request for appointment of counsel without payment of
       fees. After review of the affidavit, the court finds that the defendant has the present ability to make a contribution
       towards his/her attorney's fees.
     ❑ did not submit a financial affidavit, but appeared without counsel.

    Subject to this order of contribution, the Court hereby appoints                        Adithya Mani
as counsel for the defendant
    ❑ until further notice.
    ~ for these proceedings only.

     The defendant is ordered to pay towards attorney's fees in accordance with the schedule of payments set forth below:
     ❑ A total sum of$
        ❑ due not later than
          ❑ due in monthly payments of$                                    beginning
     ❑ Monthly payments of$                                            to commence on
       and to continue until fina       isposition o t is case.

     ~ Other CJA rate for today's appearance

        All cashier's checks and/or money orders must be made payable to: CLERK, U.S. DISTRICT COURT and mailed
to: United States District Court, Central District of California, 255 East Temple Street, Suite TS-134, Los Angeles,
California 90012, Attn: Fiscal Section. Your name and case number must be included on the cashier's check or money
order.
        This order is subject to reconsideration by the Court. The defendant is advised that he/she maybe required, based
upon his/her then present ability, to contribute a greater or lesser amount of money for attorney's fees upon
reconsideration bvthe Court.

    October 22, 2021
    Dated                                                         United States   ~           /Magistrate Judge
cc: Clerk's Once, Fiscal Section
    CJA
    FPD
    PSA

CR-26(05/18)                            ORDER FOR CONTRIBUTION TOWARDS ATTORNEY'S FEES
